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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:22-cv-01129-NYW-SBP

 ERIC COOMER, Ph.D.,
       Plaintiff

 v.

 MICHAEL J. LINDELL, FRANKSPEECH LLC,
 AND MY PILLOW, INC.,
      Defendants


                   PLAINTIFF’S UNOPPOSED CROSS-MOTION FOR LEAVE
                             TO AMEND JOINT EXHIBIT LIST


 TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT:

        Plaintiff Eric Coomer, Ph.D. (Plaintiff or Dr. Coomer), through counsel, respectfully

 moves for leave to amend the current exhibit list, and states as follows:

                                                 CONFERRAL

        Counsel for Plaintiff has conferred with counsel for Defendants relating the relief sought

 by this Motion. Defendants are not opposed to the relief requested.

                                                  MOTION

        1.         Defendants are unopposed to Plaintiff’s addition of these exhibits to the current

 exhibit list but reserve the right to object to their admission based on evidentiary grounds.

EX       Witness         Description      Auth     Stip    Offered     Admitted       Refused    Court Use Only

                      Lindell and Trump
233    Lindell
                      Photo




                                                     1
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EX      Witness      Description       Auth     Stip   Offered     Admitted       Refused   Court Use Only

                  11-23-20
234   Coomer      Harassment letter
                  to Coomer

                  05-07-21 Spirit of
235   Lindell     the Wolf Twitter
                  post

                  05-09-21
236   Lindell     AT52020 Twitter
                  post

                  08-24-21 text
237   Coomer
                  message threat

                  04-06-22 Oltmann
238   Lindell
                  Telegram post

                  08-21-22 Moment
                  of Truth Summit
239   Lindell
                  MyPillow
                  advertisement

                  08-16-23 Lindell
240   Lindell     at Election Crime
                  Bureau Summit

                  March for Trump
241   Lindell     Bus with
                  MyPillow logo

                  08-03-21 email re
                  States Counted
                  Attendees
242   Lindell
                  MYPILLOW-
                  000818
                  (Confidential)

                  08-08-21 email re
                  Cyber Symposium
                  Program Agenda
243   Lindell
                  MYPILLOW-
                  000874-000875
                  (Confidential)




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EX       Witness          Description      Auth     Stip   Offered     Admitted       Refused    Court Use Only

                       08-03-21 email re
                       Cyber Symposium
                       Invitation
244    Lindell
                       MYPILLOW-
                       000922-000923
                       (Confidential)

                       08-02-21 email re
                       Cyber Symposium
                       Invitation
245    Lindell
                       MYPILLOW-
                       001013
                       (Confidential)

                       08-02-21 email re
                       Monday’s game
                       plan
246    Lindell
                       MYPILLOW-
                       001169
                       (Confidential)


         2.        Plaintiff further requests leave to replace the current version of Exhibit 179 with a

 more accurately cut video clip of that exhibit.

         3.        Plaintiff requests the Court grant leave to include the above-listed exhibits on the

 current exhibit list. Plaintiff further requests the Court grant leave to allow Plaintiff to supplement

 copies of the above-identified documents for the exhibits binders previously delivered to the Court,

 as well as providing two replacement USBs containing the corrected Exhibit 179 to be introduced

 during the trial of this Case.




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      Respectfully submitted this 9th day of May 2025.


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